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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00125
11
                                   Plaintiff,            ORDER SEALING DOCUMENTS AS SET FORTH
12                                                       IN GOVERNMENT’S NOTICE
                            v.
13
     BENJAMIN MACIAS,
14
                                  Defendant.
15

16

17          Pursuant to Local Rule 141(b) and based upon the representation contained in the government’s
18 Request to Seal, IT IS HEREBY ORDERED that the government’s five-page document pertaining to

19 defendant BENJAMIN MACIAS, and government’s Request to Seal shall be SEALED until further

20 order of this Court.

21          It is further ordered that access to the sealed documents shall be limited to the government.
22          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
23 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

24 the government’s request, sealing the government’s motion serves a compelling interest. The Court

25 further finds that, in the absence of closure, the compelling interests identified by the

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28 / / /


      [PROPOSED] ORDER SEALING DOCUMENTS AS SET           1
      FORTH IN GOVERNMENT’S NOTICE
           Case 2:15-cr-00125-DJC-CKD Document 112 Filed 02/27/18 Page 2 of 2

 1 government would be harmed. In light of the public filing of its request to seal, the Court further finds

 2 that there are no additional alternatives to sealing the government’s motion that would adequately

 3 protect the compelling interests identified by the government.

 4 Dated: February 27, 2018

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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          2
      FORTH IN GOVERNMENT’S NOTICE
